     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 1 of 15




 1 Corey Worcester (pro hac vice)
   coreyworcester@quinnemanuel.com
 2 Renita Sharma (pro hac vice)
   renitasharma@quinnemanuel.com
 3 Elisabeth B. Miller (pro hac vice)
   elisabethmiller@quinnemanuel.com
 4 Hope Skibitsky (pro hac vice)
   hopeskibitsky@quinnemanuel.com
 5 Daily Guerrero (pro hac vice)
   Dailyguerrero@quinnemanuel.com
 6 Zane Muller (pro hac vice)
   zanemuller@quinnemanuel.com
 7 QUINN EMANUEL URQUHART AND SULLIVAN, LLP
   51 Madison Avenue, 22nd Floor
 8 New York, NY 10010
   Telephone:     (212) 849-7000
 9
   Terry L. Wit (SBN 233473)
10 terrywit@quinnemanuel.com
   QUINN EMANUEL URQUHART AND SULLIVAN, LLP
11 50 California Street, 22nd Floor
   San Francisco, CA 94111
12 Telephone:     (415) 875-6331

13 Attorneys for Plaintiff and Counterclaim Defendant hiQ Labs, Inc.

14
                                     UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16   hiQ Labs, Inc.,                                Case No. 3:17-cv-03301-EMC

17                     Plaintiff and Counterclaim   PLAINTIFF AND COUNTERCLAIM
                       Defendant,                   DEFENDANT HIQ LABS, INC.’S
18                                                  MOTION FOR SUMMARY JUDGMENT
              vs.                                   ON LINKEDIN CORP.’S FIRST
19                                                  COUNTERCLAIM
     LinkedIn Corp.,
20                                                  The Hon. Edward M. Chen
                       Defendant and Counterclaim
21                     Plaintiff.                   Date:       September 15, 2022
                                                    Time:       1:30 P.M.
22                                                  Location:   Courtroom 5, 17th Floor
                                                                450 Golden Gate Ave.
23                                                              San Francisco, CA 94102

24

25

26
27

28
      Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 2 of 15




 1                                                      TABLE OF CONTENTS
                                                                                                                                      Page
 2

 3 I.       INTRODUCTION ................................................................................................................. 1

 4 II.      BACKGROUND ................................................................................................................... 1
            A.  After Years of Engagement, LinkedIn Abruptly Targets hiQ With a Cease-And-
 5              Desist Letter Accusing hiQ of Violating the CFAA in May 2017 .......................... 1
            B.  LinkedIn Admits That It Suspected hiQ of Scraping in October 2014 ................... 3
 6
            C.  LinkedIn Admits That a Senior Executive Was Separately Informed That hiQ Was
 7              Likely Scraping Data in December 2014, But Members of Its Anti-Scraping
                Council Did Not Act When Notified ....................................................................... 6
 8
     III.   LEGAL STANDARD ........................................................................................................... 9
 9
     IV.    ARGUMENT ...................................................................................................................... 10
10
     V.     CONCLUSION ................................................................................................................... 12
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
        Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 3 of 15




 1                                                         TABLE OF AUTHORITIES

 2                                                                                                                                           Page

 3                                                                       Cases
 4 Al-Ahmed v. Twitter, Inc.,
      No. 21-CV-08017-EMC, 2022 WL 1605673 (N.D. Cal. May 20, 2022) ................................ 12
 5 Anderson v. Liberty Lobby, Inc.,
      477 U.S. 242 (1986) ................................................................................................................... 9
 6
   Celotex Corp. v. Catrett,
 7    477 U.S. 317 (1986) ................................................................................................................. 10
   Conmar Corp. v. Mitsui Co. (U.S.A.), Inc.,
 8    858 F.2d 499 (9th Cir. 1988) .................................................................................................... 10
 9 High Country Linens, Inc. v. Block,
      No. C 01-02180 CRB (N.D. Cal. Aug. 19, 2002) .................................................................... 10
10 Kyko Glob. Inc. v. Bhongir,
      No. 20-17526, 2021 WL 4958989 (9th Cir. Oct. 26, 2021) ..................................................... 12
11
   Maddalena v. Toole,
12    No. 2:13-CV-4873-ODW, 2013 WL 5491869 (C.D. Cal. Oct. 1, 2013) ........................... 10, 11

13 Reynolds   v. Dave Applegate,
      No. C 10-04427 CRB (N.D. Cal. Feb. 14, 2011) ..................................................................... 11
14 Volk v. D.A. Davidson Co.,
      816 F.2d 1406 (9th Cir. 1987) .................................................................................................. 10
15 West v. Ronquillo-Morgan,
      No. CV 20-2711 DSF(EX), 2021 WL 2953160 (C.D. Cal. May 10, 2021)....................... 10, 11
16
   Merck & Co. v. Reynolds,
17   559 U.S. 633 (2010) .................................................................................................................. 11

18 Yetter v. Ford Motor Co.,
      428 F. Supp.3d 210 (N.D. Cal. 2019) ...................................................................................... 11
19                                                    Rules / Statutes
20 18 U.S.C. § 1030 ................................................................................................................. 1, 11, 12

21 18 U.S.C. § 1030(g) ...................................................................................................................... 10
   Fed. R. Civ. P. 56(a) ........................................................................................................................ 9
22 Fed. R. Civ. P. 56(c)(1)(A), (B) .................................................................................................... 10

23 Fed. R. Civ. P. 56(c)(3) ................................................................................................................. 10

24

25

26
27

28
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 4 of 15




 1 I.       INTRODUCTION

 2          LinkedIn’s claim under the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030,

 3 is time-barred by the statute’s two-year period of limitation. LinkedIn admits that it

 4                                              . But despite receiving notice

 5 around that time, LinkedIn

 6

 7

 8                               . The CFAA starts the two-year clock when a party has inquiry, rather

 9 than actual, notice. The record admits no other conclusion than that LinkedIn knew or should have

10 known before June 7, 2015—the date two years before hiQ filed this action—that hiQ was scraping

11 public data. Accordingly, hiQ respectfully requests that the Court grant summary judgment

12 dismissing LinkedIn’s untimely CFAA claim.

13 II.      BACKGROUND

14          A.     After Years of Engagement, LinkedIn Abruptly Targets hiQ With a Cease-
                   And-Desist Letter Accusing hiQ of Violating the CFAA in May 2017
15
            hiQ was founded in July 2012 to serve previously-unmet needs among employers
16
     (particularly large employers such as Fortune 500 companies) to assist in employee development
17
     and retention by (i) analyzing the full scope of current and potential employees’ skills and (ii)
18
     identifying those employees that were at the highest risk of leaving the respective employer. ECF
19
     131 at 2–3, 11–12; Ex. L (hiQ_00097102) (July 2012 OrgStars Certificate of Incorporation); Ex. M
20
     (hiQ_00603901) (Jan. 2016 Product Roadmap); Ex. N (Darren Kaplan May 4, 2022 Dep. Tr. 60:4
21
     – 65:8). hiQ did so by researching and analyzing wholly public information that individuals chose
22
     to share via their professional social networking profiles on LinkedIn, a professional social
23
     networking site that currently has over 810 million users. ECF 131 at 3. hiQ’s business was based
24
     on two products: Keeper, an attrition risk prediction platform, and SkillMapper, a talent analytics
25
     tool providing employers with insights into the depth and breadth of the skills possessed by their
26
     workforces. Id. at 13.
27

28
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 5 of 15




 1         For years, LinkedIn knew about and sanctioned hiQ’s services and activities, including by

 2

 3                                                             . Ex. P (Mike Jennings Dep. Tr. 65:1-

 4 66:3). At the October 2016 “Elevate” Conference in Santa Clara, LinkedIn’s Lorenzo Canlas

 5 accepted an award from hiQ for his team’s work in the emerging people analytics field:

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
           See Ex. A (hiQ_00102004); Ex. P.
27

28


                                                  -2-
         Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 6 of 15




 1            LinkedIn was apparently content to largely ignore hiQ’s scraping activity until it developed

 2 its own talent analytics offering, LinkedIn Talent Insights, which was announced by CEO Jeff

 3 Weiner on June 21, 2017.          ECF 131 at 19; Ex. B (LinkedIn’s Response to hiQ’s Second

 4 Interrogatories) at 12–13. A month prior, in May 2017, LinkedIn abruptly denied hiQ’s access to

 5 the portion of the LinkedIn website containing wholly public user profiles. ECF No. 131 at 4. And

 6 on May 23, 2017, LinkedIn sent hiQ a cease-and-desist letter

 7                                                                                           . See Ex. O

 8 (LINK_HIQ_000002224).

 9            Deprived of access to the data that provided the foundation of its analytics, hiQ filed a

10 complaint against LinkedIn on June 7, 2017, seeking a declaration that hiQ had not violated and

11 would not violate federal or state law, including the CFAA, by accessing and copying wholly public

12 information from LinkedIn’s website. ECF No. 1 at 22–23.

13            B.     LinkedIn Admits That

14            On June 6, 2022, LinkedIn filed an amended answer and counterclaim that asserted, inter

15 alia, a cause of action against hiQ for allegedly violating the CFAA. (ECF No. 320 at 47–49.)

16 Specifically, LinkedIn alleged that “hiQ knowingly and intentionally accessed LinkedIn’s

17 computers and servers without authorization or in excess of authorization” and “circumvented

18 [LinkedIn’s] technical barriers” by using concealment, such as fake accounts and proxy services,

19 among other technical end-arounds. Id. at 47–48. LinkedIn’s alleged injuries include harm to its

20 computer systems and expenses associated with being forced to investigate and respond to the

21 alleged unauthorized access and purported abuse of its computers. Id. at 49. LinkedIn also stated

22 that it actively monitors its platform to prevent scraping. Id. at 34.

23            However, LinkedIn admits that

24

25                                                                  See Ex. B at 4.1

26
     1
      It is irrelevant whether LinkedIn knew that hiQ was scraping with 100% certainty because the
27
   statute of limitations begins to run when a party’s duty to inquire is triggered by suspicion of harm,
28 not certainty. See Argument Section I, infra.


                                                      -3-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 7 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21
          See Ex. C (LINK_HIQ_000038999) at -39000.
22
          In the same thread,
23

24

25

26
27

28


                                             -4-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 8 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14 See id. at -38999.

15         In its discovery responses, LinkedIn confirms that
16                                  Ex. B at 4. And in the same thread,
17

18

19

20

21

22

23

24

25

26
27

28


                                                  -5-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 9 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14 See Ex. D (LINK_HIQ_000039040).

15        But despite LinkedIn’s acknowledgement that this issue

16                            See Ex. B at 4 (

17

18                                                     ).

19        C.     LinkedIn Admits That a

20

21        In

22

23

24

25                                                     See Ex. E (LINK_HIQ_000012281).

26
27

28


                                                 -6-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 10 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16 Id. Mr. Rosin testified that

17                                           Director of Business Development Lee Womer, a LinkedIn
18
     employee who “[w]orked with [a] cross-functional team to reboot [LinkedIn’s] anti-scraping
19
     initiative that dramatically improved defenses and enforcement.”2
20

21

22

23

24

25

26
27   2
         See Ex. F (Bob Rosin Tr. at 127:19–23) (“Q.

28                                                                     ; Ex. G (LinkedIn Profile of Lee
     Womer) (describing role and responsibilities vis-à-vis scraping enforcement).)

                                                    -7-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 11 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14 See Ex. H (LINK_HIQ_000012274) at -12277; Ex. I (Lee Womer Tr. at 56:15–25).

15                                                        . Mr. Womer testified that

16

17

18

19                      .

20         For years afterward, hiQ’s scraping activity

21

22                                                              . See Ex. B at 6; ECF No. 144-2. After

23 attending the hiQ Elevate Conference in October of 2015, Mr. Canlas (the 2016 award recipient)

24

25

26
27

28


                                                   -8-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 12 of 15




 1

 2

 3

 4

 5

 6

 7

 8

 9

10 Ex. J (LINK_HIQ_000067471). According to LinkedIn,

11

12

13                                  See, e.g., Ex. K (LINK_HIQ_000067901) (

14                                                                                                       ).

15 III.     LEGAL STANDARD

16          Summary judgment is appropriate when “there is no genuine dispute as to any material fact

17 and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A material fact is

18 any factual issue that might affect the outcome of the case under the governing substantive law. See

19 Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986). A dispute about a fact is “genuine” if the

20 evidence is such that a reasonable jury could return a verdict for the non-moving party. Id. “A party

21 asserting that a fact cannot be or is genuinely disputed must support the assertion by . . . citing to

22 particular parts of materials in the record” or by “showing that materials cited do not establish the

23 absence or presence of a genuine dispute, or that an adverse party cannot produce admissible

24 evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A), (B). The court need only consider the

25 cited materials, but it may also consider any other materials in the record. Id. at 56(c)(3). Summary

26 judgment may also be entered “against a party who fails to make a showing sufficient to establish
27 the existence of an element essential to that party’s case, and on which that party will bear the burden

28 of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).


                                                      -9-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 13 of 15




 1          “While resolution of the statute of limitations issue is normally a question of fact, where the

 2 uncontradicted facts established through discovery are susceptible of only one legitimate inference,

 3 summary judgment is proper.” High Country Linens, Inc. v. Block, No. C 01-02180 CRB, 2002 WL

 4 1998272, at *2 (N.D. Cal. Aug. 20, 2002)(internal quotations and citations omitted). “The district

 5 court may grant summary judgment if uncontroverted evidence ‘irrefutably demonstrates that a

 6 plaintiff discovered or should have discovered [the cause of action] but failed to file a timely

 7 complaint.’” Conmar Corp. v. Mitsui Co. (U.S.A.), Inc., 858 F.2d 499, 502 (9th Cir. 1988) (quoting

 8 Volk v. D.A. Davidson Co., 816 F.2d 1406, 1417 (9th Cir. 1987)).

 9 IV.      ARGUMENT

10          LinkedIn’s CFAA claim is time-barred by the two-year statute of limitations. A claim under

11 the CFAA must be filed within two years from “the date of the act complained of or the date of the

12 discovery of the damage.” 18 U.S.C. § 1030(g). The CFAA does not require that the claimant have

13 actual knowledge of the violation; rather, it “demands only that the claimant have had a reasonable

14 notice to discover the violation.” Maddalena v. Toole, No. 2:13-CV-4873-ODW, 2013 WL

15 5491869, at *4 (C.D. Cal. Oct. 1, 2013) (emphasis added). When, as with the CFAA, “legislators

16 have written the word ‘discovery’ directly into the statute . . . state and federal courts have typically

17 interpret the word to refer not only to actual discovery, but also to the hypothetical discovery of

18 facts a reasonably diligent plaintiff would know.” West v. Ronquillo-Morgan, No. CV 20-2711 DSF

19 (EX), 2021 WL 2953160, at *3 (C.D. Cal. May 10, 2021) (quoting Merck & Co. v. Reynolds, 559

20 U.S. 633, 645 (2010)). Federal law determines when the limitations period begins to run, and the

21 general federal rule is that “a limitations period begins to run when the plaintiff knows or has reason

22 to know of the injury which is the basis of the action.” See Al-Ahmed v. Twitter, Inc., No. 21-CV-

23 08017-EMC, 2022 WL 1605673, at *11 (N.D. Cal. May 20, 2022) (citation omitted).

24          It is undisputed that as early as

25                                    See Exs. B, C, D. It is also undisputed that LinkedIn

26                                                                 . See id. At most, LinkedIn’s excuses
27

28


                                                      -10-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 14 of 15




 1                                                                                                   Ex. B

 2 at 4. But LinkedIn conspicuously fails to explain “why due diligence could not have revealed the

 3 violation earlier.” Reynolds v. Applegate, No. C 10-04427 CRB, 2011 WL 560757, at *2 (N.D. Cal.

 4 Feb. 14, 2011) (rejecting argument for tolling the statute of limitations where “[p]laintiff had a

 5 reasonable opportunity to discover” a violation.); Yetter v. Ford Motor Co., 428 F. Supp. 3d 210,

 6 225 (N.D. Cal. 2019) (statute of limitations not tolled “because Plaintiff has not plausibly alleged

 7 reasonable diligence”). hiQ is not responsible for LinkedIn’s                                Indeed, the

 8 fact that LinkedIn had already

 9                                                                                          (Ex. B at 6),

10 makes this failure all the more stark.

11          For a claim to be time-barred, the aggrieved party need not know details such as the identity

12 of the defendant, nor the exact legal claim. See Al-Ahmed, 2022 WL 1605673, at *11 (barring

13 CFAA claim because “for statute of limitations purposes, a CFAA claim starts to run when the

14 plaintiff is aware of the alleged damage, not when the plaintiff learns exactly what has happened”)

15 (citation and alteration omitted). In Al-Ahmed, the court found that since the plaintiff became aware

16 of a data breach on his Twitter account, he had sufficient notice and could have sought out the

17 unknown hackers within the statute of limitations period after filing a Doe complaint. Id. at *12;

18 Kyko Glob. Inc. v. Bhongir, No. 20-17526, 2021 WL 4958989, at *1 (9th Cir. Oct. 26, 2021)

19 (holding it was enough to have had “knowledge of the injury that gave rise to the claim” such as

20 when plaintiff discovered fraudulent accounts that gave rise to plaintiff’s fraud claims).

21          The record demonstrates beyond dispute—and LinkedIn’s written discovery responses

22

23                        more than two years before this action commenced. Yet none of those

24 employees

25                        —and that was only after the statutory period had already expired. As a result,

26 LinkedIn’s CFAA claim is time-barred.
27

28


                                                    -11-
     Case 3:17-cv-03301-EMC Document 331-1 Filed 08/05/22 Page 15 of 15




 1 V.     CONCLUSION

 2        The Court should grant Summary Judgment and dismiss LinkedIn’s claim against hiQ

 3 under the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030.

 4

 5        Dated: August 5, 2022

 6                                           By

 7                                           /s/ Corey Worcester

 8                                            Corey Worcester (pro hac vice)
                                              QUINN EMANUEL URQUHART &
 9                                            SULLIVAN, LLP
                                              51 Madison Avenue, 22nd Floor
10                                            New York, NY 10010
                                              Telephone:    (212) 849-7000
11                                            coreyworcester@quinnemanuel.com

12
                                              Attorneys for Plaintiff and Counterclaim
13                                            Defendant hiQ Labs, Inc.

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28


                                               -12-
